                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                                    Court Minutes and Order
HEARING DATE: September 21, 2021
JUDGE:        Brett H. Ludwig
CASE NO.:     19-cv-0707-bhl
CASE NAME:    McGee v. Milwaukee County, et al.
MATTER:       Status Conference
APPEARANCES:  James Conrad Severson, Attorney for Plaintiff
              Douglas S. Knott, Attorney for Defendants
TIME:         10:41 a.m. – 10:55 a.m.
COURTROOM DEPUTY: Christine B.
              AUDIO OF THIS HEARING IS AT DKT NO. 99


         Court reviews procedural history with the parties and acknowledges stipulation to
withdraw as Plaintiff’s counsel, signed by Plaintiff and his current counsel (Dkt. No. 95), and
stipulation to modify fact discovery deadline, signed by the parties (Dkt. No. 96). Potential
replacement counsel explains that he is awaiting the file from Plaintiff’s current counsel before
filing a notice of appearance. Replacement counsel believes he will be prepared to file a notice
of appearance and confer with Defendants’ counsel within a week or two.

       Court APPROVES stipulation to withdraw as Plaintiff’s counsel. Court ORDERS
replacement counsel and Defendants’ counsel to confer and file a status report by October 5,
2021, proposing new deadlines. To the extent possible, the Court prefers to keep the April 29,
2022 dispositive motion deadline, the August 11, 2022 final pretrial conference date, and the
August 22, 2022 trial date. The Court encourages the parties to be flexible in reaching an
agreement on other deadlines.

       Dated at Milwaukee, Wisconsin on September 24, 2021.

                                                          s/ Brett H. Ludwig
                                                          BRETT H. LUDWIG
                                                          United States District Judge




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